                  Case 5:18-po-04215 Document 1 Filed in TXSD on 06/01/18 Page 1 of 1
 AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   SouthernDistrict
                                               __________   Districtofof__________
                                                                         Texas

                   United States of America                        )
                              v.                                   )
               Fulgencio TRUJILLO-Aguilar                          )      Case No.
                                                                   )                 L-18-PO4215
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                   May 28, 2018                in the county of                      Webb             in the
       Southern         District of           Texas           , the defendant(s) violated:

             Code Section                                                    Offense Description
8 USC 1325(a)(1)                            an alien, did unlawfully enter and attempt to enter the United States at a place other than
                                            designated by immigration officer.




          This criminal complaint is based on these facts:
Furthermore, it is based on verbal statements by, Fulgencio TRUJILLO-Aguilar, who admitted to being a citizen of Mexico, who
entered or attempted to enter illegally into the United States by wading the Rio Grande River near, Laredo, Texas, thus avoiding
immigration inspection, nor having proper documents to enter, travel through, or remain in the United States. This illegal entry or
attempted entry took place on May 28, 2018.




              Continued on the attached sheet.
                                                                                                          /S/
                                                                                                Complainant’s signature

                                                                          Francisco Perez Iii                , Border Patrol Agent
                                                                                                 Printed name and title

 Sworn
 Affiant to before Perez
         Francisco me and signed in my presence.
 sworn and attested
 on June 1, 2018, at 5:20 AM,
 Date:   June 01, 2018
 at Laredo, Texas.
                                                                                                   Judge’s signature

 City and state:      Laredo, Texas                                       Diana Song Quiroga                 , U.S. Magistrate Judge
                                                                                                 Printed name and title
